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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                               )
                                                     )        Chapter 11
CENTER CITY HEALTHCARE LLC d/b/a                     )
HAHNEMANN UNIVERSITY                                 )        Bankruptcy No. 19-11466
HOSPTIAL et al.,                                     )
                                                     )        Jointly Administered
                      Debtors.                       )
                                                     )

                                 CERTIFICATE OF SERVICE
        I hereby certify that on October 30, 2019, I caused a copy of the foregoing Response to the
Debtors’ Motion for Stay Pending Appeal of Order Granting in Part the Motion of Tenet Business
Services Corporation and Conifer Revenue Cycle Solutions, LLC for Entry of an Order (I)
Compelling Payment of all Unpaid Postpetition Amounts Pursuant to 11 U.S.C. § 503(b)(1) or, in
the Alternative, (II) Granting Relief from the Automatic Stay to the Extent Necessary to Terminate
the TSA and MSA to be sent via ECF Noticing to all parties receiving ECF Notices in these Chapter
11 proceedings and on the following via electronic mail:

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Dated: October 30, 2019          By:   /s/ Megan N. Harper
                                       Megan N. Harper (No. 4103)
